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                        UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF MISSOURI
                              EASTERN DIVISION

 GARY RIHN &                                  )
 BONITA RIHN,                                 )
                                              )
                Plaintiffs,                   )
 v.                                           )       Case No. 4:07CV00197ERW
                                              )
 TYOKA JACKSON                                )
                                              )
                Defendant.                    )

     PLAINTIFFS’ FIRST MOTION IN LIMINE TO EXCLUDE QUESTIONS,
  COMMENTS, OPINION TESTIMONY OR STATEMENTS OF DEFENDANTS’
  EXPERT DR. SMITH CONCERNING: 1) THE CREDIBILITY OF PLAINTIFF
   GARY RIHN; 2) PLAINTIFFS’ USE OF THE LEGAL SYSTEM; AND 3) THE
    CREDIBILITY OF GARY RIHN’S TREATING PHYSICIAN DR. ARONOV

        COME NOW Plaintiffs and for Plaintiffs’ First Motion in Limine to Preclude the

 Expert Opinions and Testimony of Defendants’ Expert Jeffrey Kuehn, state as follows:

        1.      Defendant offers the expert testimony of Dr. Stacey Smith. In the Rule 26

 report, Dr. Smith improperly impugns Mr. Rihn’s credibility and offers her expert

 opinion that Mr. Rihn is lying and exaggerating his symptoms for purposes of this

 litigation. Dr. Smith explicitly premises her opinion that Mr. Rihn does not have post-

 traumatic stress syndrome (or any other serious psychological injury arising from

 defendant’s battery of Mr. Rihn) because Mr. Rihn “is exaggerating his complaints and

 navigating the treatment and litigation processes to favor his legal claim.” Dr. Smith’s

 report is rife with other improper comments, invading the province of the jury and

 attacking the credibility of Mr. Rihn, Mrs. Rihn, and Mr. Rihn’s treating physician Dr.

 Aronov.




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         2.     As set forth at length in Plaintiff’s Memorandum in Support, attached

 hereto, each of the inadmissible and improper statements of Dr. Smith should be

 excluded.

         3.     In support of their motion, Plaintiffs incorporate by reference their

 Memorandum in Support, filed herewith.

         WHEREFORE, Plaintiffs respectfully request that the Court enter an Order

 precluding the Defendant from introducing any expert testimony or opinions concerning

 the credibility of Plaintiffs or any other witnesses, from making any comments or

 argument to the jury concerning “secondary gain”, or otherwise attempting to discredit

 plaintiffs for exercising their right to utilize the judicial system to seek recovery for their

 injuries.

                                                        DOWD & DOWD, P.C.

                                                BY:    ___/s/ DOUGLAS P. DOWD__
                                                        DOUGLAS P. DOWD (29240)
                                                        Attorneys for Plaintiffs
                                                        100 North Broadway, Suite 1600
                                                        St. Louis, Missouri 63102
                                                        314/621-2500 Fax, 314/621-2503

                              CERTIFICATE OF SERVICE

        A copy of the foregoing was served by operation of the Court’s electronic filing
 system this 10th day of March, 2008 to Mr. Thomas Magee, Attorneys for Defendant,
 Moser & Marsalek, P.C., 200 North Broadway, Suite 700, St. Louis, Missouri 63102,
 314-421-5640 (fax) and N. Scott Rosenblum, Rosenblum, Schwarts & Rogers, P.C., 120
 South Central Avenue, Suite 1550, Clayton, Missouri 63105, 314-862-8050 (fax).

                                                        ___/s/ DOUGLAS P. DOWD__
                                                        DOUGLAS P. DOWD




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